        Case 1:21-cv-00917-JB-SCY Document 35 Filed 07/06/22 Page 1 of 2




                         IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEW MEXICO

JOEL M. YOUNG, an individual,                              Civil Action No. 1:21-cv-00917

                    Plaintiff,

        v.

TESLA, INC. a Delaware Corporation,,

                    Defendant.


    TYLER M. CUFF CERTIFICATION OF JOSHUA A. VITTOR IN SUPPORT OF
               APPLICATION FOR ADMISSION PRO HAC VICE


        Pursuant to D.N.M.LR-Civ. 83.3, the undersigned, Tyler M. Cuff, a member in good

standing of the bar of this Court, certifies as follows:

             1. I am employed as an attorney on this case and will personally participate in the

                hearings and trial of this matter.

             2. JOSHUA A. VITTOR of the law firm WILMERHALE, 350 South Grand Avenue,

                Suite 2400, Los Angeles, CA 90071, is associated in this action with me.

             3. JOSHUA A. VITTOR is an active member in good standing with the State Bar of

                California [Bar No. 326221].

             4. JOSHUA A. VITTOR is an active member in good standing with the State Bar of

                New York [Bar No. 5477708].

             5. JOSHUA A. VITTOR has not been denied admission to the courts of any state or to

                any federal court during the last five years.

             6. The requisite fee of One Hundred Dollars ($100.00) has been paid to the Clerk of the

                Court of the United States District Court of New Mexico.




3644316.1
        Case 1:21-cv-00917-JB-SCY Document 35 Filed 07/06/22 Page 2 of 2




        WHEREFORE, Tyler M. Cuff prays that this Court grant the admission pro hac vice of

JOSHUA A. VITTOR of the law firm of WILMERHALE, in this cause of action and allow him to

appear before this Court until the conclusion of this case.

                Dated: July 6, 2022            Respectfully submitted,



                                                TYLER M. CUFF
                                                RODEY, DICKASON, SLOAN, AKIN & ROBB, P.A.
                                                201 Third St. NW, Suite 2200
                                                Albuquerque, NM 87102
                                                (505) 768-7267
                                                tcuff@rodey.com

                                                Counsel for Defendant Tesla, Inc.




                                                    -2-
